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  Message

  From:        adriennem@google.com [adriennem@google.com]
  Sent:        6/18/2020 6:13:55 PM
  To:          adriennem@google.com; iamsupriya@google.com; jamiero@google.com; hiroshi@google.com;
               thillestad@google.com; l<esh@google.com; susannahc@google.com; nickdrake@google.com; l<amdar@google.com
  Subject:     AAAAoaluCGY-byl4Axy1Ajo


  •       adriennem@google.com 202�-06-18Tl8:13:..55.720Z
  creating internalchat
  •       adriennem@google.com 2020-06-18T18:14:0_2.870Z
  still having some challenges with presenting
  •        ad1·iennem@google.com 2020-06-18Tl8:15:05.989Z
  looks like they finally got it up
  •       iamsupriya@google.com 2020-06-18Tl8: 17: 14.6462
  Samsung US has reduced their marketing of the A71, limiting it to only 4 weeks in July. Mostly, due to the
  current sentiment in the country.
  •       jamiero@google.com 2020-06-18T18:l7:58.330Z
  We could choose to bolster, though ... if we think AT&T would go bigger behind it
  •     iamsupriya@google.com 2020-06-_18T18:18:54.03QZ
  I'll send you a note with what we've been exploring with them. If AT&T is interested, we should definitely lean
  lll.
  •        adriennem@google.com 2020-06-18Tl8:20:20.737Z.
  @Jamie Rosenberg want to ask about personnel move before we move on?
  •    jamiero@google.com 2020-06-18T18:20:52.977Z
  Yes, will ask
  •      adriennem@google.com 2020-06-18Tl8:21:59.640Z
  kk
  •      jamiero@google.com 2020-06-l8Tl8:26:16.819Z
  We're running late so I'll skip that and we can move into the agenda
  •      hiroshi@google.com 2020-06-l 8T18:26:41.163Z
  I can ask David later
  •       adriennem@google.com 2020-06-18Tl8:26:44.9082
  sg. will try to make up some time on RCS stuff Q
  •       hiroshi@google.com 2020-06-18T18:26:49.703Z
  He didn't want thaddeus here
  •      adriennem@google.com 2020-06-18T18:26:50.667Z
  we'll see...
  •       iamsupriya@google.com 2020-06-18T18:29:59.924Z
  Hiroshi, on personnel, I heard Fiona Carter, Brand CMO is moving on as well. Will be good to understand if
  there are any potential changes to the marketing strncture.



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  •      adriennem@google.com 2020-06-18T18:35:10.493Z
  this is mostly about Intercom1ect
  •       jamiero@google.com 2020-06-18T18:35:54.625Z
  Adrienne and I have discussed. I personally think it's OK to leave interconnect out of the agreement. Seems like
  our product team is pushing for this
  •         jamiero@googJe.com 2020-06-18Tl8:36:06.330Z
  .... but I think we can take some risk on that and manage it operationally
  •         adriennem@google.com 2020-06-18T18:36: 19.21lZ
  yes, agreed.
  •       thillestad@google.com 2020-06-l8T18 :36:5l.120Z
  Termination for lack of alignment on roadmap could be an issue though.
  •     kesh@google.com 2020-06-18Tl8:42:30.468Z
  they always say that, but their actions prove otherwise. the next few slides should highlight why their base of
  android users are leaving. just poor experience.
  •      adriennem@google.com 2020-06-18T18: 51:40.459Z
  is Sagar's audio choppy for others?
  •       hiroshi@google.com 2020-06-18T18:51:52.076Z
  Sounds OK to me
  •      adriennem@googJe.com 2020-06-18Tl 8:51: 58.244Z
  ok,good
  •       kesh@google.com 2020-06-18Tl8:55:09.736Z
  why is this just an issue for art
  •      susannahc@googJe.com 2020-06-18Tl8:55:28.961Z
  FWIW, iOS -> Samsung is also substantially improved with consolidated restore.
  •    hiroshi@google.com 2020-06-18T18:56:10.320Z
  I think Jeffs reasons are bs
  •       kesh@google.com 2020-06-18T18:56:24.787Z
  Yes!
  •      kesh@google.com 2020-06-18T18:58:08.881Z
  ATT solution has revenue generating items - their rev teams prioritize this stuff
  •     kesh@google.com 2020-06-18Tl9:09:05.8 l 6Z
  more revenue generating apps
  •      kesh@google.com 2020-06-18T19:15:02.6l8Z
  see
  •      kesh@google.com 2020-06-18T19:15:07.155Z
  RSA is not enough>
  •      adl'iennem@google.com 2020-06-18T19:19:27.459Z
  sorry, Shanna... trying to get to Stadia. have to quickly tee up 5G. @Kesh Patel @Supriya Gujral can talk to and
  then over to Stadia



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  •      adriennem@google.com 2020-06-18Tl9:19:45.247Z
  @Shanna Preve they've already mentioned Stadia a couple of times... excited about partnering
  •    adriennem@google.com 2020-06-18Tl9:19:56.909Z
  their comment was about Stadia being available beyond Pixel
  •       iamsupriya@google.com 2020-06-18T19:20:56.819Z
  5G may be a quick one. I honestly just want to understand where we can partner. Since CES, we've floated 3
  different programs and hosted a joint meeting with Samsung but we've landed nowhere.
  •       nickdrake@google.com 2020-06-18T19:32:26.979Z
  Would be great to have some Stadia exclusivity for a while for Android. Any differentiation to IOS is going to
  be very helpful ...
  •      iamsupriya@google.com 2020-06-18Tl 9:32:48.658Z
  We've definitely been pushing for it
  •      kamdar@google.com 2020-06-18Tl 9:42:45.5442
  I imagine it must have gotten better once I left
  •      kamdar@google.com 2020-06-1 STl 9:42:55.2242
  What was their feedback on the other issues on experience
  •     jamiero@google.com 2020-06-18T20:08:46.5662
  They agreed to everything on your slides ... said it was all brilliant thinking
  •      hiroshi@google.com 2020-06-18T20:12:03.9892
  I do think there's a fundamental "disconnect" or different assumption around share challenges so I think we
  need to zoom out and understand their perspective too. Why does Jeff think the share is what is it, and what
  does Jeff think we need to do to address.
  •       hiroshi@google.com 2020-06-18T20:12:31.694Z
  I recognize part of this is just convenient for them to brush off because they have revenue goals etc (per Kesh),
  but there may be even more to it than that.
  •       hiroshi@google.com 2020-06-18T20:12:39.5742
  so we agreed to follow up with those conversations
  •      adriennem@google.com 2020-06-18T20:12:49.417Z
  I think it centers around why aren't users coming in asking for Android (vs iPhone)
  •       adriennem@google.com 2020-06-18T20:12:57.887Z
  and they're looking for that answer first and foremost
  •      kamdar@google.com 2020-06-18T21:47:55.445Z
  i think the best way to do this is like a shopping test
  •        kamdar@google.com 2020-06-18T21:48:03.390Z
  can we get 100 people to go to an AT&T store
  •      kamdar@google.com 2020-06-18T21:48:38.739Z
  with a specific situation, and we see what happens
  •       kamdar@google.com 2020-06-18T21:49:00.766Z
  i believe a lot of this is how much influence the salesperson in the store has on the purchase decision




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  •      kamdar@google.com 2020-06-18T21:49:05.667Z
  but i could be wrong
  •       hfroshi@google.com 2020-06-l 8T21:49:3l.192Z
  y. also we should see what their android retention rates are relative to others. jeff was focused on the 14 day
  return period, but what about loyalty to android over time. do they under-index there? that could be an
  experience thing, a promo thing, or a combination
  •       kamdar@google.com 2020-06-18T21:49:41.009Z
  for users that have made up their mind in advance thats a different issue, but we can see at least how much
  influence AT&T has on the decision making
  •       kamdar@google.com 2020-06-18T21:50:04.069Z
  when I go into some of these stores and watch people buying a device I see a few things
  •      kamdar@google.com 2020-06-18T21:50:27.410Z
  a) salesperson has an iphone which sometimes gets someone that is unsure of which device to buy•onto an
  iphone
  •       kamdar@google.com 2020-06-18T2l :50:40.539Z
  b) salesperson is more fluent in iphone than android
  •       kamdar@google.com 2020-06-18T21:50:57.251Z
  c) demo of iphone in the store is much nicer coz of less preloads, beauitful demo mode, etc
  •      kamdar@google.com 2020-06-18T21:51:19.246Z
  d) the apple booth is just nicer/appealing
  •       kamdar@google.com 2020-06-18T21:54:45.084Z
  can we sponsor that type of experiment?
  •      kesh@google.com 2020-06-19T19:15:34,022Z
  I agree with Sagar. I will follow up with the training and enablement teams, I believe they have or are doing
  some of this research. I 100% agree in store is the biggest challenge esp with ATT, it is not an equal playing
  field e.g reps just push ios, no Android love or support provided by ATT. This combined with poor UX is
  leading to a much greater decline with ATT vs their peers. I will ping you offline as I get more insight.




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